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 3               UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
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 5      UNITED STATES OF AMERICA,
 6                                                             Case No. CR06-0242 JLR
                              Plaintiff,
 7                                                             ORDER RE:
                        v.                                     ALLEGATIONS OF
 8                                                             VIOLATION OF
        LUCINDA WYNN,                                          CONDITIONS OF
 9                                                             APPEARANCE BOND
                              Defendant.
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12          THIS MATTER comes on for an initial hearing on the Petition of the United States Pretrial
     Services Office alleging that the defendant has violated the conditions of supervision by using cocaine
13   on July 12, 2006 and July 17, 2006.

14              The plaintiff appears through Assistant United States Attorney, MATTHEW THOMAS.

15              The defendant appears personally and represented by counsel, KIMBERLY GORDON

16           The defendant having been advised of the allegations, her right to a hearing, and the maximum
     consequence of being found in violation of her Appearance Bond, enters admissions to both alleged
17   violations regarding the use of cocaine..

18          ACCORDINGLY, the court hereby revokes the defendant’s appearance bond and directs that
     she be detained for failing to show that he/she will not flee or pose a danger to any other person or the
19   community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered by the court for
     further proceedings.
20         The clerks shall direct copies of this order to counsel for the United States, to counsel for the
21   defendant, the United States Marshal and to the United States Pretrial Services Office.

22                                                      July 21, 2006.

23                                                      _/s/ J. Kelley Arnold ______________
24                                                      J. Kelley Arnold, U.S. Magistrate Judge

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     ORDER
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